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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Northern District
                                                   __________  DistrictofofCalifornia
                                                                            __________

                  United States of America                          )

                                                                                      CR 21-71720-MAG
                             v.                                     )
    Gregory Smith, a/k/a " OG Nutty" and "GNutty"
                                                                    )      Case No.
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                          Defendant(s)


                                                   CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  February 10, 2021              in the county of              Monterey            in the
     Northern          District of            California        , the defendant(s) violated:

            Code Section                                                      Offense Description
21 U.S.C. §§ 841(a)(1), and                       Distribution of methamphetamine
(b)(1)(C)




         This criminal complaint is based on these facts:
Please see attached affidavit of ATF Special Agent Oluwatoba O. Awolola




         ’ Continued on the attached sheet.

                                                                                                         /s/
                                                                                               Complainant’s signature
         Approved as to form _______________
                                                                                  Oluwatoba O. Awolola, ATF Special Agent
              AUSA Neal C. Hong__________
                                                                                                Printed name and title

Sworn to before me by telephone.


Date:             11/01/2021
                                                                                                  Judge’s signature

City and state:                         McKinleyville, CA                           Robert M. Illman U.S. Magistrate Judge
                                                                                                Printed name and title



        Print                        Save As...                  Attach                                                  Reset
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                     AFFIDAVIT OF OLUWATOBA O. AWOLOLA
             IN SUPPORT OF AN APPLICATION FOR CRIMINAL COMPLAINT

       I, Oluwatoba O. Awolola, being first duly sworn, hereby depose and state as follows:
                                        INTRODUCTION

       1.      Based on the information below, I believe that Gregory Smith distributed

methamphetamine on February 10, 2021, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C).

       2.      I submit this affidavit in support of an application for a complaint and arrest

warrant for Smith.

       3.      I am a Special Agent in the Bureau of Alcohol, Tobacco, Firearms, and

Explosives (ATF) and have been so employed since April 2013. I am presently assigned to the

ATF San Jose Field Office in San Jose, California. I am an investigative or law enforcement

officer of the United States within the meaning of 18 U.S.C. § 2510(7), that is, an officer of the

United States who is empowered by law to conduct investigations of and to make arrests for

offenses enumerated in 18 U.S.C. § 2516. I was trained as an ATF Special Agent at the Federal

Law Enforcement Training Center in Glynco, Georgia.

       4.      As an ATF Special Agent, I have been trained to conduct and participate in both

state and federal investigations involving the illicit possession of firearms, the trafficking of

firearms, and the distribution of controlled substances. I have received training in how to

investigate and assist in the prosecution of criminal street gangs engaged in illegal narcotics and

firearms trafficking. I have received training and participated in various types of investigative

techniques, including using electronic surveillance and undercover agents and informants. I have

participated in physical surveillance operations, and have applied for and participated in the

execution of federal arrest warrants. In addition to using these investigative techniques, I have

been trained to analyze information resulting from traditional record searches, pen registers and

trap and trace devices, financial records, utility records, and telephone toll and subscriber

records.
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        5.        Prior to my employment with the ATF, I was a non-commissioned officer in the

United States Army, and I currently hold a commission in the United States Army Reserves

(USAR).

        6.        The facts in this affidavit come from my personal observations, my training and

experience, law enforcement databases, and information obtained from other agents and

witnesses. This affidavit is intended to show that there is sufficient probable cause for the

requested warrant and does not set forth all of my knowledge about this matter. In addition,

where statements made by other individuals are referenced in this Affidavit, such statements are

described in sum and substance and in relevant part. Similarly, where information contained in

reports and other documents or records are referenced in this Affidavit, such information is also

described in sum and substance and in relevant part.

                           FACTS ESTABLISHING PROBABLE CAUSE

         7.       On January 23, 2020, an ATF confidential informant (CI)1 informed ATF agents

that he/she met an individual who went by the name “OG Nutty” and “GNutty” who had access

to firearms and drugs. The CI gave ATF agents OG Nutty’s license plate. A California

Highway Patrol officer recognized the moniker and informed ATF that GNutty was Gregory

Smith. ATF agents showed Gregory Smith’s DMV photo to the CI, and the CI positively

identified him.
        8.        As provided below, the CI met with Smith on two occasions to purchase

methamphetamine. Specifically, the CI purchased approximately 40 grams of methamphetamine

from Smith on February 10, 2021, and approximately 27 grams of methamphetamine on

February 17, 2021. Each meeting was audio/video recorded. Prior to and after the controlled

buys described herein, ATF searched CI for contraband, and none was found.

                     February 10, 2021: Controlled purchase of methamphetamine

1
  For approximately 8 years, the CI has regularly assisted ATF in investigations and has received financial
compensation for this work. This includes significant monetary payments for the CI’s participation in the instant
investigation. The CI has a felony conviction for Robbery which predated his work with ATF. Information
provided by the CI to ATF has, to date, been found to be credible based on law enforcement corroboration of
information provided by the CI.

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       9.      On February 5, 2021, the CI sent a text to Smith that stated, in part, that the CI

needed “2 zips of clear by Tuesday.” Smith agreed to meet the CI on February 9, 2021. Based

on my training and experience, as well as my involvement in this investigation, I know that the

CI was referring to two ounces (“2 zips”) of methamphetamine (“clear”).

       10.     On February 8, 2021, the CI called Smith to ask how much Smith would charge

for two ounces of methamphetamine. Smith told the CI that he charges $250 for “Grade A.”

Based on my training and experience, I know that “Grade A” is a reference to high-quality

narcotics. Smith also told the CI that he had an “untraceable” firearm with 30 rounds of

ammunition for sale for $950.

       12.     On February 10, 2021, after a failed attempt to meet, the CI called Smith to

arrange the meeting. Smith told the CI that he (Smith) needed to make arrangements with his

associate. Smith also told the CI that he (Smith) had a personal firearm. The CI offered to buy

the firearm, but Smith told the CI that he needed it for his own protection against the

“oppositions,” which Smith referred to as the “Mexicans.” The CI offered $1050 for the firearm

but Smith declined to sell it.

       13.     The CI later went to 21 Soledad Street in Salinas, California, and called Smith.

Salinas is within the Northern District of California. During this call, Smith told the CI that he

(Smith) could only sell the CI one and a half ounces of methamphetamine. Smith also told the
CI that he would sell the CI his firearm for $1050. The CI met with Smith in a tent in a

neighborhood within Salinas known as “Chinatown.” Chinatown consists of a few blocks near

downtown Salinas hosting numerous tents along the streets and is known for drug, firearms, and

gang-related activity. Smith sold the CI a pistol and methamphetamine for $1425.

       14.     The methamphetamine provided by Smith was found to have a total weight of

approximately 40.985 grams of pure methamphetamine (+ or – 2.52 grams). Due to the lack of

a serial number and manufacturer identification markings, the pistol that the CI bought from

Smith was determined to be a privately made firearm also known as a “ghost gun.”



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                    February 17, 2021: Controlled purchase of methamphetamine

        15.      On February 15, 2021, the CI called Smith and told Smith that the CI needed

another firearm by that Wednesday. Smith said that he needed to talk to the CI in person and

that he would arrange it. On February 17, 2021, Smith told the CI that he could get him a Glock

for $1200. Approximately 15 minutes later, Smith told the CI that he had drugs ready for

purchase, but he needed more time to acquire the firearm.

        16.      Later that day, Smith informed the CI that the firearm transaction would not occur

that day. Smith texted the CI: “There ain’t gonna be more of them till next week.” However, the

two agreed to continue with the methamphetamine sale.

        17.      The CI met Smith in a tent in Salinas’ Chinatown. Inside the tent, Smith sold the

CI approximately an ounce of methamphetamine. The methamphetamine was determined to

have a total weight of approximately 27.464 grams of pure methamphetamine (+ or – 1.688).

Methamphetamine is a schedule II controlled substance.

                                           CONCLUSION

        18.      Based on the foregoing, I believe that there is probable cause to believe that

Gregory Smith violated 21 U.S.C. §§ 841 and (b)(1)(C) by distributing methamphetamine to the

CI of February 20, 2021. Accordingly, I respectfully request that the Court issue a warrant for

his arrest.
                                                          /s/
                                               _________________________________
                                               OLUWATOBA O. AWOLOLA
                                               Special Agent
                                               Bureau of Alcohol, Tobacco, Firearms, and
                                               Explosives


       Sworn to before me over the telephone and signed by me pursuant to Fed. R. Crim. P. 4.1
                  __________________
and 4(d) on this ___ day of October, 2021.

                  1 day of November, 2021      __________________________________________
                                               HON. ROBERT M. ILLMAN
                                               United States Magistrate Judge


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       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:       COMPLAINT           INFORMATION             INDICTMENT                          Name of District Court, and/or Judge/Magistrate Location
                                                      SUPERSEDING                           NORTHERN DISTRICT OF CALIFORNIA
          OFFENSE CHARGED
                                                                Petty

                                                                Minor              DEFENDANT - U.S
                                                                Misde-
                                                                meanor

                                                                Felony
                                                                                      DISTRICT COURT NUMBER
PENALTY:




                                                                                                                DEFENDANT
                          PROCEEDING                                                    IS NOT IN CUSTODY
                                                                                          Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                       1)       If not detained give date any prior
                                                                                          summons was served on above charges

       person is awaiting trial in another Federal or State Court,               2)       Is a Fugitive
       give name of court
                                                                                 3)       Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                        IS IN CUSTODY
                                                                                 4)       On this charge
       this is a reprosecution of

                                                                                                                           }
       charges previously dismissed                                              5)       On another conviction
       which were dismissed on motion                    SHOW                                                                        Federal         State


                                                }
       of:                                             DOCKET NO.
                                                                                 6)       Awaiting trial on other charges
            U.S. ATTORNEY          DEFENSE
                                                                                           If answer to (6) is "Yes", show name of institution

       this prosecution relates to a

                                                                                                                    }
                                                                                                          Yes            If "Yes"
       pending case involving this same                                               Has detainer
                                                                                                                         give date
       defendant                                      MAGISTRATE                      been filed?         No             filed


                                                }
                                                       CASE NO.
                                                                                      DATE OF                    Month/Day/Year
       prior proceedings or appearance(s)
       before U.S. Magistrate regarding this                                          ARREST
       defendant were recorded under                                                  Or... if Arresting Agency & Warrant were not

Name and Office of Person                                                             DATE TRANSFERRED                         Month/Day/Year
Furnishing Information on this form                                                   TO U.S. CUSTODY
                             U.S. Attorney       Other U.S. Agency

Name of Assistant U.S.                                                                     This report amends AO 257 previously submitted
Attorney (if assigned)
                                                ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
            SUMMONS           NO PROCESS*            WARRANT             Bail Amount:
        If Summons, complete following:
             Arraignment    Initial Appearance                           * Where defendant previously apprehended on complaint, no new summons or
                                                                         warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                         Date/Time:                                 Before Judge:

        Comments:
